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                                                          CERTIFICATE OF DELIVERY

                    On today’s date the 14th of April 2020, in the facilities of the Aeropuerto de
                 Maiqueria, S.A., at 11.30 am, a meeting took place between the President of
                 Bariven and authorised for the export by PDVSA, Oscar Dávila Rondón holder
                 of C.I.V-12.350.175 (who receives) on the one side and on the other Saúl López,
                 holder of identity card V-16.551.209; Corporate Treasury Manager (who hands
                 over), to certify the hand over of 80 bars of gold having the following
                 characteristics:

                                         Fine Gold Kg.                              USD Equivalent
                                         Kg.                                        USD 53,542,951.51
                                         1,001,7276



                    These constitute collateral for the operations for acquisition and supplies of
                 gasoline 91 between Petróleos de Venezuela and the National Oil Company of
                 Iran for give million barrels of gasoline having the following characteristics:


                                                               Delivery
                                                              Saúl López
                                                     Corporate Treasury Manager
                                                         [Illegible signature]

                                                                Recipient
                                                          Oscar Dávila Rondón
                                                          President of Bariven
                                                          [Illegible signature]




                    __________________________________________________________________________________
                    PETROLEOS DE VENEZUELA, S.A.
                    Avenda Libertador, edificio Petroleos de Venezuela, Torre Este. Le Campina, Post Box 169. Caracas 1010-A, Venezuela
                    Telephone: (0202) 708 4111 Fax: (02) 708 4561 / 708 4662 www.pdvsa.com




                                                          Vice-Presidency of the
                                                          Bolivarian Republic of Venezuela




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                                                                   Process Number: 21301.2022.4.2024
                                                        The Single Banking Form (PUB) is valid for thirty continuous days with
                                                        effect from its issue and within this time the payment is to be made within
 Vicepresidency of the Bolivarian.                      the first ten (10) continuous days. Once the user makes the payment, the
 Republic of Venezuela                                  document together with the Single Banking Form must be presented prior
 AUTONOMOUS DEPARTMENT FOR RECORDS AND                  to the expiry of the thirty (30) continuous days stated above
 NOTARIES.


                                                                           Form No: 21310114170
   SINGLE BANKING FORM (PUB)
                                                                           Issue Date: 2022-10.14

   Type of document: AUTHENTICATION OF
   SIGNATURES

   Document:
   VARIOUS DOCUMENTS

   FORM EXONERATED

   Applicant’s Surname and forename:
   Juan Carlos Arrieche Granadillo

   ID/REF/Applicant’s passport: V-12850322

   Depositor’s Surname and forename:

   ID/REF/Depositor’s Passport:
                                                                  Control Number: 488-0000-0000
   Signature of Depositor:


                                                                                         SAREN rate (Bs.S)                  0
   Form of payment:                                                                   Process stamps (Bs.S)                             0.00
                                                                          SAREN Authentication stamps (Bs.S)                            0.00
   Deposit-__Sales Point___Internet Payment____                                          Total stamps (Bs.S)                            0.00
                                                                                  TOTAL AMOUNT (Bs.S)                 0
 AMOUNT IN LETTERS: ZERO BOLIVARS AND ZERO CENTS
                                                                                          Seal and Signature of the Bank
   Branch seal                                    Collecting Banks
   (Branch telephone)
                         0003   - Banco Industrial de Venezuela    0175   - Banco Bicentario
                         0102   - Banco de Venezuela               0108   - Banco Provincial
                         0163   - Banco del Tesoro


  SOLELY FOR USE BY
  SAREN
  ISSUING OFFICIAL                    RECEIVING                            REVISING                          REGISTRAR/NOTARY
                                      OFFICIAL                             OFFICIAL


  [Signature]                         [Signature]                          [Signature]                       [Signature]




                                                                                                             Lawyer Carmen Valladares
                                                                                                             Principal Register
                                                                                                             ID V.14.835.259


             Seg. Code: YIWbllCUmZ2UopWaUpeflZGil6JRkaNRmA==




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                               Issue Date 22  14/10/2022    212 and 163
                                                           The Single Banking Form (PUB) has a period of ten continuous days
                                                           within which to be paid. Once the respective payment has been made, it has
  Vicepresidency of the Bolivarian.                        a non-extendible period of thirty (30) days to present the document. After
  Republic of Venezuela                                    this period, the PUB is void and a new PUB must be issued in order to
                                                           conclude the process, with the amount needing to be paid again.
                                                                                                                                 38164
   SINGLE BANKING FORM (PUB)                                                 Form No: 070-00335578

              [BAR CODE]
   TYPE OF DOCUMENT                                                                                21/230
   AUTHENTICATION

   Given name and Surname of the Applicant
   JUAN ARRIECHE                                                                    Control Number: 488-0000-0000

   ID/RIF/Passport of the Applicant                                Form of Payment                 Cheque No./             Amount (Bs.F.)
   V-12850322                                                                                      Approval

   Given name and Surname of the Depositor                         Cash amount
                                                                   Cheque same
                                                                   Bank
   Signature of the Depositor                                      Point of sale

                                    Payment by internet
   ZERO SOVEREIGN BOLIVARS WITH ZERO CENTIMES                                                       Total amount                   0.00

  SOLELY FOR USE BY SAREN
                    ISSUING                                 RECEIVING                     REVISING                   REGISTRAR/
                    OFFICIAL                                OFFICIAL                      OFFICIAL                   NOTARY
  Given names and surnames


  Identity Card                       CI 6519 948           David Velisquez
                                      Notary
  Position
                                                                  Dr. Luis Alfredo Ramirez Montsalve
                                                                           Incumbent notary
  Date                                                                         Code 070
  Signature                                                            Eighth Public Notary of the
                                                                Chacao Municipality of the Miranda State


             Office Seal                                 Collecting Banks                                Seal and Signature of the Bank
                                      0003          - Banco Industrial de Venezuela
                                      0007          - Banco Bicentenario
                                      0102          - Banco de Venezuela
                                      0163          - Banco del Tesoro
                                      0108          - Banco Provincial


               TRANSFER        0.00
               TRANSPORT 0.00
               For Notary Use Only
               EIGHTH PUBLIC NOTARY OF THE CHACAO MUNICIPALITY OF THE MIRANDA STATE
               OBSERVATIONS




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            [Illegible signature]                          EIGHTH PUBLIC NOTARY OF
         DR. DEMETRIOS SIERRA                             THE CHACAO MUNICIPALITY
                 LAWYER                                 Received on
         REGISTRATION 137.049                           Form          38164
                                                        Fixed for the day
                                                        Fees Paid             21/230



       Citizen:
       Eighth Public Notary of the Chacao Municipality Miranda State.


       I, Oscar Albin Dávila Rondon, Venezuelan, holder of the identity card No. V-
       12.350.175 of this address, in order to comply with the legal requirements
       demanded in respect of legalisation and apostille by the Ministry of the Popular
       Power for Foreign Affairs, do appear before you in order to swear under oath and
       for the relevant legal purposes, to be valid for any and all legal purposes abroad,
       that the document attached hereto, corresponds with certification in my capacity as
       Chairman of Bariven S.A. to the following document:

           1. List of 80 gold bars ordered by boxes for the acquisition and supplies
              of gasoline 91 between Petróleos de Venezuela and the National Oil
              Company of Iran, dated 14 April 2020.

       Similarly, I acknowledge that the signature that appears at the end of this document
       is signed by me in my own hand. In addition, the document attached to the
       Certification is a true and exact copy of the original which is kept in the official
       registry of the archives of Bariven S.A. what is done, kept and used in the course
       of its regular business activities. It was done at the time of the facts set forth in it
       by a person with knowledge thereof.

       By executing this document, I declare under penalty of perjury under the laws of
       the Bolivarian Republic of Venezuela that the foregoing is true and correct.

       May justice be done in the city of Caracas, on the date of its presentation.




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     Vice-Presidency of the Bolivarian
     Republic of Venezuela


     THE BOLIVARIAN REPUBLIC OF VENEZUELA. VICE-PRESIDENCY OF THE BOLIVARIAN REPUBLIC OF VENEZUELA.
     AUTONOMOUS DEPARTMENT OF RECORDS AND NOTARIES (SAREN). PUBLIC NOTARY EIGHT OF THE CHACAO
     AUTONOMOUS MUNICIPALITY OF MIRANDA STATE. 14/10/2022, 212 and 163. The above document drafted by the Lawyer
     DEMETRIOS SIERRA, registered in the Instituto Previsión de Abogados under No. 137.049, was presented for its authentication and return in
     accordance with the Single Banking Form No. 070-00335578 and Notary Form No. 038164 dated 14.10/2022. The following parties were present
     OSCAR ALBIN DAVILA RONDON, of VENEZUELAN nationality, of legal age, residing in CARACAS, of SINGLE civil status and the
     holder of Identity Card Number: V.-12.350.175. After reading the SWORN DECLARATION document, the parties in the presence of the Notary
     stated: “ITS CONTENT IS TRUE AND OUR SIGNATURES APPEAR AT THE BOTTOM OF THE DEED”. On this basis, the Notary
     declared this Document to be authenticated and the original signed copies will form part of the Principal Volume and Duplicate Volume, being
     inserted under No. 17 Volume 230 of the Register of Authentications of this Notary Office. Witnesses to this deed were: STAFANY GAMEZ,
     and NELSON FRANCO, holders of Identity Card Nos.: V-21.759.154 and V-6.965.178, official of this Notary designated for this deed. The
     Notary states that he read out the provisions of article 78 number 2 of Decree No. 1.422 which sets out the Status, Validity and Force of law on
     Registers and Notaries, published in the Extraordinary Official Gazette No 6.156 dated 19 November 2014 and informed the parties of the
     content, nature, importance and legal consequences of legal acts or transactions granted in his presence as well as the waivers, reserves,
     encumbrances and any other aspect which affects the assets or rights referred to in the legal deed or transaction, who consequently stated that they
     are in full agreement. Having the urgency of the case been sworn, the undersigned notary declares this document to be compliant with article 29
     of the referred to Decree No. 1.422. The undersigned notary states that he has seen: 1. The laminated cards of the parties.


     THE PUBLIC NOTARY                                                                                          THE PARTIES




                                          Dr. Luis Alfredo Ramirez Montsalve
                                                 Incumbent notary
                                                     Code 070
                                             Eighth Public Notary of the
     THE WITNESSES                     Chacao Municipality of the Miranda State




     STEFANY GAMEZ




     NELSON FRANCO


                                                             [Illegible signature and stamps]




                                                       Vice-Presidency of the Bolivarian
                                                       Republic of Venezuela




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                [Illegible signature]
             DR. DEMETRIOS SIERRA
                     LAWYER
             REGISTRATION 137.049




                                                       CERTIFICATION




     I, the undersigned, OSCAR ALBIN DÀVILA RONDON, holder of the Identity Card
     No. V-12.350.175, in my capacity as President of BARIVEN, S.A., designated by
     Account Point No. PC-DERRHH-067-2020, protocolized before the First Mercantile
     Registry of the Capital District of the Bolivarian State of Miranda under Number.56,
     Lathe 34-A, dated 21 December, 2020, hereby certifies that the attached document that
     is identified as: Certificate of delivery of 80 bars of gold for the acquisition and
     supplies of gasoline 91 between Petróleos de Venezuela and the National Oil
     Company of Iran, dated 14 April 2020, , is a faithful and exact copy of its original that
     remains in the archives of this entity.


     Certification which was made in Caracas on the fifth (5) day of the month of October of
     2022.

                    [Illegible signature]
             OSCAR ALBIN DAVILA RONDON
                   ID Card No. V-12.350
                President of BARIVEN S.A.




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 Vicepresidency of the Bolivarian.
 Republic of Venezuela




        THE BOLIVARIAN REPUBLIC OF VENEZUELA. VICE-PRESIDENCY OF THE BOLIVARIAN
        REPUBLIC OF VENEZUELA. AUTONOMOUS DEPARTMENT OF RECORDS AND NOTARIES
        (SAREN). PUBLIC NOTARY EIGHT OF THE CHACAO AUTONOMOUS MUNICIPALITY OF
        MIRANDA STATE. 14 OCTOBER 2022, 212 and 163. The above document drafted by the Lawyer
        DEMETRIOS SIERRA, registered in the Instituto Previsión de Abogados under No. 137.049, was presented
        for its authentication and return in accordance with the Single Banking Form No. 070-00335578 and Notary
        Form No. 038164 dated 14/10/2022. The party, OSCAR ALBIN DAVILA RONDON was present. It was
        recorded under No. 21 Volume 230 of the respective books of authentications. ---------------------
        THE PUBLIC NOTARY                                                           THE PARTY


                     Dr. Luis Alfredo Ramirez Montsalve
                              Incumbent notary
                                  Code 070
                          Eighth Public Notary of the
                   Chacao Municipality of the Miranda State




                                                    Vice-Presidency of the Bolivarian
                                                    Republic of Venezuela



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        Vicepresidency of the Bolivarian.
        Republic of Venezuela




        The undersigned, Abg. CARMEN SARIBETH VALLADARES GRATEROL
        Principal Registrar of the State CAPITAL DISTRICT, according to NUMBER
        41,666 dated 02-07-2019. It is stated that in order to comply with Art. 65 of the
        Registration and Notary Law, the signature of the citizen DR. LUIS ALFREDO
        RAMIREZ MONSALVE is hereby legalized. Who, as of the date this document was
        granted is the EIGHTH NOTARY OF THE CHACAO AUTONOMOUS
        MUNICIPALITY OF MIRANDA STATE.
        This legalisation does not prejudice any other issue of substance or form. Form request
        No. 21310114170 Payment of the Autonomous Service for an amount of 22.15 Bs.
        This is issued in Caracas on the 14th of the month of October of the year 2022.


                                            [Illegible signature]
                         Abg. CARMEN SARIBETH VALLADARES GRATEROL
                               Main Registrar of the CAPITAL DISTRICT State




        Issued by: NEXY BADELL [Illegible signature]



                                             Vice-Presidency of the Bolivarian
                                             Republic of Venezuela




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                                      BOLIVARIAN REPUBLIC OF VENEZUELA
                                    ***“VICE-PRESIDENCY OF THE REPUBLIC***

                  AUTONOMOUS SERVICE OF REGISTERS AND NOTARIES


                                              The above signature of

                  ABG. CARMEN SARIBETH VALLADARES GRATEROL

                                                is hereby legalised.

                  Who is the Principal Registrar of the DISTRICT CAPITAL State.

                  Notice is hereby given that the legalisation does not prejudice any
                  other issue of substance or form.

                  Caracas, 14 October 2022
                  212, 163 and 23                                                            VENEZUELAN REPUBLIC OF
                                                                                                    VENEZUELA
                                                                                              VICEPRESIDENCY OF THE
                                                                                                     REPUBLIC
                                                                                              OFFICE OF THE ATTOREY

                  By the Minister                                                                    GENERAL
                                                                                             OF THE CAPITAL DISTRICT

                                                                                              AUTONOMOUS UNIT FOR
                                                                                              RECORD AND NOTARIES



                                     ABEL ERNESTO DURAN GOMEZ

                   GENERAL DIRECTOR OF THE AUTONOMOUS SERVICE OF REGISTRY AND
                                            NOTARIES

                    Presidential Decree No. 4.297 of 11 September 2020, published in the Extraordinary
                    Official Gazette of the Bolivarian Republic of Venezuela No. 6.574 of the same date.

                    Document signed electronically with the same evidential value that the Law grants to
                     written documents, as per article 4 of the Law of Messages of Data and Signatures.




                                         Vice-Presidency of the Bolivarian
                                         Republic of Venezuela




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                                             Ministry of the Popular Power for Foreign
                                             Affairs




                                                                                  No. Q14510S22819710

                                                                APOSTILLE

                                               (Convention de La Haye du 5 octobre 1961)

             1. Country: VENEZUELA
               This public document
             2. has been signed by                   ABEL ERNESTO DURAN GOMEZ
             3. acting in the capacity of            GENERAL DIRECTOR OF THE SAREN
             4. bears the seal/stamp of              Vice-Presidency of the Bolivarian
                                                     Republic of Venezuela
                                                             Certified
             5. In Caracas                           6. on 14-10-2022
             7. by                                   Ministry of the Popular Power for Foreign Affairs
             8. No. Q14510S22819710


                                       BOLIVARIAN REPUBLIC
                                          OF VENEZUELA


             9. Seal/stamp:            MINISTRY OF FOREIGN
                                             AFFAIRS
                                                                10. Signature [Illegible]




                                                                  CHRISTIANS EDUARDO SANCHEZ OLOYOLA
                                                                     General Director (E) of the Consular Relations Office in
                                                                accordance with Resolution No. 007 of 24 May 2022, published in
                                                                 the Official Gazette of the Bolivarian Republic of Venezuela No.
                                                                                      42.388 of 31 May 2022.


                This Apostille only certifies the authenticity of the signature and the capacity of the person who has signed
                the public document, and, where appropriate, the identity of the seal or stamp which the public document
                                                                      bears.
                             The Apostille does not certify the content of the document for which it was issued.
                                                 Date and time of issue: 14/10/2022 15:55:52
                                To validate the authenticity of this Apostille enter this code: DPHIYY7H96Z in
                                                  https://consultalegalisacionve.mppre.gob.ve
                                                       Document type: Sworn Statement
                              Holder: Identification number: J 000925020 Name: BARIVEN S.A. BARIVEN S.A.




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                                                                                              17th October 2022




    Dear Sirs,

    Re: Spanish into English Certified Translation - LR-1022-547

    Language Reach Limited is a UK-registered professional translation and interpreting
    company and a fully qualified registered member of The Association of Translation
    Companies (Member No. 2018ATCR1238). We hereby confirm that we have
    translated the enclosed document(s) from 6SDQLVKinto (QJOLVK.

    As a responsible translation agency we only employ certified linguists to work with
    us. We are satisfied with the linguistic accuracy and hereby confirm that the (QJOLVK
    written translation of the 6SDQLVK document(s) represents its fair and accurate
    linguistic message as intended in the original file(s).

    We hereby confirm that this is a true and correct translation and certify the linguistic
    accuracy.

    For more information, please contact Language Reach Limited on +44 (0) 208 677
    3775.

    Yours sincerely,




    Aniello Attianese
    Senior Account Manager




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